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INDIANAPOLIS DlvlsloN w AR 0 7 2018
U.S. MAG|

UNITED sTATES oF AMERICA, ) ¢ND¢ANAP§)[?§E§HE§§
)
Plaintiff, )
)

v. ) CAUSE No. 1118-mj-0214

)
AHMED ALAKLoUK, )
)
Defendant. )

PENALTY SHEET

You have been charged in a Complaint With a violation of the LaWs of the United States
of America. The maximum penalties are as folloWs:

 

Count Supervised
Number Statute Years Fine Release
l 18 U.S.C. § 922(g)(5) 0-10 years $250,000. NMT 3 years

unlawful possession of a
firearm by an alien

Dated:

 

AHMED ALAKLOUK
Defendant

I certify that the Defendant Was advised of the maximum penalties in the manner set forth
above and that he signed (or refused to sign) the acknowledgement

 

United States Magistrate Judge
Southern District of lndiana

